Case 8:20-cv-00027-JWH-ADS Document 81 Filed 11/05/21 Page 1 of 1 Page ID #:3252



                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES -
                                     GENERAL

   Case No.       SACV 20-00027-JWH (ADSx)                               Date   November 5, 2021
   Title     Paramjit Lalli v. First Team Real Estate - Orange County


   Present: The Honorable        JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
                 Irene Vazquez                                          Anne Kielwasser
                 Deputy Clerk                                           Court Reporter
     Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
              Avi R. Kaufman                                         Scott O. Luskin


 Proceedings:        VIDEO HEARING RE: CLASS COUNSEL’S MOTION FOR
                     SERVICE AWARD AND CLASS COUNSEL FEES AND
                     EXPENSES [ECF No. 78] & PLAINTIFF’S MOTION FOR
                     FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                     [ECF No. 79]

       Counsel state their appearances. The Court confers with counsel. The Court
  takes the motions [ECF Nos. 78 & 79] under submission.

           IT IS SO ORDERED.




                                                                                            Time: 00:18
                                                                                  Initials of Preparer: iv
